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 6                             UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
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 9   Silvestre ESTRADA, a minor, by and                    Case No.: 22-cv-00373-AJB-BGS
     through is proposed guardian ad litem
10
     Emily Prieto, et al.,                                 ORDER SETTING DISCOVERY
11                                       Plaintiffs,       DISPUTE BRIEF DEADLINE
12   v.
13
     UNITED STATES OF AMERICA,
14                                      Defendant.
15
16           On October 24, 2022, counsel for both parties called the Court regarding a discovery
17   dispute. The dispute involves a redacted document that Plaintiffs received from Defendant
18   that related to an after-action report about the underlying matter. Defendant provided this
19   after-action report, subject to redactions. Plaintiffs requested that the Court look at this
20   after-action report in camera and determine whether any already made redactions should
21   be removed. Defendant claimed that these redactions were made on the basis that they are
22   protected by the deliberative process privilege.
23           Accordingly, the Court ORDERS the parties file a Joint Brief as follows:
24        1. The Joint Brief must be filed on or before November 7, 2022 at 4:00 PM, with
25           EIGHT (8) PAGES as the maximum amount of pages per party.
26        2. To the extent the briefing relies on exhibits, the exhibits must be either quoted or
27           summarized within the briefing.
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 1     3. The Court expects the parties to exchange arguments beforehand and address each
 2        other’s arguments in the brief.
 3     4. The Court reminds the parties that they are to continue propounding discovery and
 4        that a discovery dispute is not in itself good cause to extend the scheduling order.
 5     5. The Court will take the matter under submission.
 6        IT IS SO ORDERED.
 7   Dated: October 28, 2022
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